      Case: 1:13-cr-00572 Document #: 55 Filed: 09/25/13 Page 1 of 10 PageID #:198




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA         )          No. 13 CR 572
                                 )
           v.                    )
                                 )          Hon. Elaine E. Bucklo
PRINCE ASIEL BEN ISRAEL and )
C. GREGORY TURNER,               )
     also known as “Greg Turner” )

                              PROTECTIVE ORDER

        WHEREAS, the parties agree that they have a compelling interest in

preventing certain sensitive discovery materials from being disclosed to anyone

not a party to the court proceedings in this matter; such material may include

information relevant to ongoing national security investigations and

prosecutions; and such materials may implicate the privacy interests of the

defendants and third parties;

        AND WHEREAS, the government seeks to tender to the defendants

certain declassified materials. As used herein, the term “Declassified Discovery

Material” refers to any and all classified documents, materials, and information

that have been marked as declassified and provided by the government to

defense counsel as part of discovery in this case;1


  1
       The category of Declassified Discovery Materials includes all declassified
information, and all declassified materials that were a product of physical searches or
electronic surveillance authorized pursuant to the Foreign Intelligence Surveillance
Act of 1978, 50 U.S.C. §§ 1801-1811, 1821-1829, (FISA) that are reviewed by or made
available to the defendants or defense team in this case.
     Case: 1:13-cr-00572 Document #: 55 Filed: 09/25/13 Page 2 of 10 PageID #:199




       AND WHEREAS, apart from Declassified Discovery Material, the

government seeks to tender to the defendants certain third party information.

As used herein, the term “Sensitive Discovery Material” refers to any and all

documents, materials, and information that have been marked as sensitive and

that contain third party information including financial information of one or

more persons other than the defendants;

       AND WHEREAS, the parties further agree that the Court has the power

under Fed. R. Crim. P. 16(d)(1) and 26.2 to grant appropriate relief to the parties

where required in the interests of justice;

       THEREFORE, IT IS HEREBY ORDERED pursuant to Rule 16(d) of the

Federal Rules of Criminal Procedure that the government shall segregate the

discovery materials it produces to the defendants and their counsel of record into

three categories: (1) General Discovery Materials, (2) Declassified Discovery

Materials, and (3) Sensitive Discovery Materials. The category to which

particular discovery materials belong shall be clearly identified by the

government;

       General Discovery Materials

       IT IS FURTHER ORDERED that, except as provided below, General

Discovery Materials shall not be further disseminated2 by the defendants or

 2
       “Disseminated” means to provide, show or describe to another either a particular
piece of discovery or quotations, excerpts, or summaries derived therefrom.

                                          2
   Case: 1:13-cr-00572 Document #: 55 Filed: 09/25/13 Page 3 of 10 PageID #:200




their counsel of record to any individuals, organizations or other entities, other

than: (i) members of the defense team (co-counsel, paralegals, investigators,

translators, litigation support personnel, the defendants, and secretarial staff)

and (ii) experts retained to assist in the preparation of the defense. Members of

the defense team may show (but not provide copies of) any General Discovery

Materials to witnesses and their counsel or potential witnesses and their counsel

during the course of their investigation of this case. Each of the individuals to

whom disclosure is made pursuant to the above provisions shall be provided a

copy of this protective order and will be advised that he or she shall not further

disseminate the materials except by the express direction of counsel of record or

co-counsel;

      Declassified Discovery Materials

      IT IS FURTHER ORDERED that Declassified Discovery Materials shall

not be further disseminated by the defendants or their counsel of record to any

individuals, organizations or other entities, other than (i) members of the

defense team (co-counsel, paralegals, investigators, translators, litigation

support personnel, the defendants, and secretarial staff); and (ii) experts

retained to assist in the preparation of the defense. Each of the individuals to

whom disclosure is made pursuant to the above provision shall be provided a




                                        3
   Case: 1:13-cr-00572 Document #: 55 Filed: 09/25/13 Page 4 of 10 PageID #:201




copy of this protective order and will be advised that he or she shall not further

disseminate the materials except by the express direction of counsel of record or

co-counsel. The government shall provide copies of any Declassified Discovery

Material appropriately so marked. It is expressly understood that counsel for the

defendants or co-counsel may not disseminate any of such Declassified Discovery

Materials to witnesses or potential witnesses. The defendants may seek relief

from these provisions as to a particular item or items of discovery by providing

notice to the Court of intent to disseminate particular identified item(s) to a

witness and the purpose in doing so. The Notice shall be ex parte and under seal.

No disclosure of the item(s) to the witness(es) shall be made until the Court so

permits. The Court, after notifying the defense, may consult with the

government regarding any dissemination requests pursuant to this paragraph;

      IT IS FURTHER ORDERED that no Declassified Discovery Material shall

be disseminated to any member of the defense team, as defined above, expert

witness retained by the defense team, or any duly authorized witness unless that

person shall first have signed the Memorandum of Understanding in the form

attached hereto, agreeing to comply with the terms of this Order. The signed

Memorandum of Understanding shall be filed with the Court ex parte and under

seal. The substitution, departure, or removal for any reason from this case of

counsel for the defendants, or anyone associated with the defense team shall not



                                        4
   Case: 1:13-cr-00572 Document #: 55 Filed: 09/25/13 Page 5 of 10 PageID #:202




release that person from the provisions of this Order or the Memorandum of

Understanding executed in connection with this Order;

      IT IS FURTHER ORDERED that counsel shall store all Declassified

Discovery Materials, and any copies thereof, in a secure place;

      Sensitive Discovery Materials

      IT IS FURTHER ORDERED that Sensitive Discovery Materials shall not

be further disseminated by the defendants or their counsel of record to any

individuals, organizations or other entities, other than (i) members of the

defense team (co-counsel, paralegals, investigators, translators, litigation

support personnel, the defendants, and secretarial staff); and (ii) experts

retained to assist in the preparation of the defense. The government shall

provide copies of any Sensitive Discovery Material appropriately so marked. It

is expressly understood that counsel for the defendants or co-counsel may not

disseminate any of such Sensitive Discovery Materials to witnesses or potential

witnesses. The defendants may seek relief from these provisions as to a

particular item or items of discovery by providing notice to the Court of intent

to disseminate particular identified item(s) to a witness and the purpose in doing

so. The Notice shall be ex parte and under seal. No disclosure of the item(s) to

the witness(es) shall be made until the Court so permits. The Court, after




                                        5
   Case: 1:13-cr-00572 Document #: 55 Filed: 09/25/13 Page 6 of 10 PageID #:203




notifying the defense, may consult with the government regarding any

dissemination requests pursuant to this paragraph;

      Provisions Applying to All Discovery Material

      IT IS FURTHER ORDERED that all discovery materials, whether general,

declassified or sensitive, in this case are now and will forever remain the

property of the United States Government. At the conclusion of this case, all

Declassified Discovery Materials and all audio or video recordings shall be

destroyed or maintained under secure conditions by defense counsel. Upon

written request of the Government, all Declassified Discovery Materials and all

audio or video recordings shall be returned to the Government. All remaining

material shall be disposed of in one of three ways, unless otherwise ordered by

the Court: such materials may be (1) destroyed; (2) returned to the United

States; or (3) retained in defense counsel’s case file. The Court may require a

certification as to the disposition of any such materials. In the event that any

materials are retained by defense counsel, the restrictions of this Order continue

in effect for as long as the materials are so maintained, and the materials may

not be disseminated or used in connection with any other matter without further

order of the Court;

      IT IS FURTHER ORDERED that notwithstanding any other provision of

this or any other Protective Order that may be entered by the Court, the



                                        6
   Case: 1:13-cr-00572 Document #: 55 Filed: 09/25/13 Page 7 of 10 PageID #:204




disclosure or discovery of materials that may be submitted to the Court in

connection with any FISA-related litigation, including but not limited to any

FISA applications, orders, or related materials, shall be governed by FISA;

      IT IS FURTHER ORDERED that any papers filed by the government

pursuant to the Classified Information Procedures Act containing classified

information shall be filed under seal and ex parte with the Court through the

Classified Information Security Officer or a designee of his choosing who

possesses the necessary security clearance. The date and time of physical

submission to the Classified Information Security Officer or an appropriately

cleared designee shall be considered the date and time of the filing. At the time

of making a physical submission to the Classified Information Security Officer

or a designee, counsel shall file on the public record in the CM/ECF system a

notice of filing. This notice should contain only the case caption and the

unclassified title of the filing;

      IT IS FURTHER ORDERED the defense team and any other authorized

persons shall not copy or reproduce the materials except in order to provide

copies of the materials for use in connection with this case by the defense team

and such authorized persons. Such copies and reproductions shall be treated in

the same manner as the original materials. Defense counsel shall not remove

from any copies of either General Discovery Materials, Declassified Discovery



                                        7
   Case: 1:13-cr-00572 Document #: 55 Filed: 09/25/13 Page 8 of 10 PageID #:205




Materials or Sensitive Discovery Materials, any inscription made by the

Government identifying the materials as: “U.S. Government Property” and “May

Not Be Used Without U.S. Government Permission”;

      IT IS FURTHER ORDERED that all discovery materials are subject to

this protective order, are to be provided to the defense, and used by the defense,

solely in connection with the defense of this case, and for no other purpose, and

in connection with no other proceeding, without further order of this Court;

      IT IS FURTHER ORDERED that no party shall make, or participate in

the making of, any extrajudicial disclosure of Declassified Discovery Materials

or Sensitive Discovery Materials, for dissemination by means of public

communication, unless such materials are (or become) public record, including

but not limited to, trial transcripts, documents that have been received in

evidence at other trials, or documents that are otherwise properly placed in the

public domain;

      IT IS FURTHER ORDERED that the restrictions set forth in this Order

do not apply to documents that are or become part of the public court record,

including documents that have been received in evidence at other trials, nor do

the restrictions in this Order limit defense counsel in the use of discovery

materials in judicial proceedings in this case, except that any document filed by

any party which attaches or otherwise discloses Declassified Discovery Material



                                        8
   Case: 1:13-cr-00572 Document #: 55 Filed: 09/25/13 Page 9 of 10 PageID #:206




or Sensitive Discovery Material, shall be filed under seal to the extent necessary

to protect such information, absent prior permission from this Court;

      IT IS FURTHER ORDERED that any papers to be served upon the Court

in response to papers served in conformity with the preceding paragraph also be

filed under seal;

      IT IS FURTHER ORDERED that, to the extent any material is produced

by the United States to defendants or defendants’ counsel by mistake, the

United States shall have the right to request the return of the material and shall

do so in writing. Within five days of the receipt of such a request, defendants

and/or defendants’ counsel shall return all such material if in hard copy, and in

the case of electronic materials, shall certify in writing that all copies of the

specified material have been deleted from any location in which the material was

stored;

      IT IS FURTHER ORDERED that nothing in this Order shall preclude the

government or the defendants from seeking a further protective order pursuant

to Rule 16(d) as to particular items of discovery material; and




                                        9
  Case: 1:13-cr-00572 Document #: 55 Filed: 09/25/13 Page 10 of 10 PageID #:207




      FINALLY, IT IS ORDERED that this Order is entered without prejudice

to either party’s right to seek a revision of the Order by appropriate motion to

the Court.




                                     HON. ELAINE E. BUCKLO
                                     UNITED STATES DISTRICT COURT


Dated: September 25, 2013




                                       10
